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                               UNITED STATES DISTRICT COURT
                                        DISTRICT OF MAINE


JANE DOE, an individual                           )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )                No. 1:22-cv-00381-SDN
                                                  )
MISSIONARY OBLATES OF MARY                        )
IMMACULATE EASTERN                                )
PROVINCE et al.,                                  )
                                                  )
                Defendants.                       )


      ORDER ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

                                           INTRODUCTION

        Plaintiff Jane Doe1 alleges priests of the Missionary Oblates of Mary Immaculate2

sexually abused her when she visited Maine as a young child in the 1950s (ECF No. 39).

In her complaint, Doe maintains that she suffers from severe mental and emotional

injuries from the abuse. The Defendants now move for summary judgment in their favor,

(ECF No. 74), to which Doe replies in opposition (ECF No. 78). For the reasons that

follow, I grant Defendants’ motion.




1 Jane Doe is a pseudonym. See ECF Nos. 6, 10.
2 In her first amended complaint, Doe names three related Oblates entities as defendants: Missionary

Oblates of Mary Immaculate Eastern Province, Missionary Oblates of Mary Immaculate, Inc., and U.S.
Province of the Missionary of Oblates of Mary Immaculate, Inc. Missionary Oblates of Mary Immaculate
Eastern Province filed the instant motion; the same counsel represents all entities. For the sake of
simplicity, I will refer to Missionary Oblates of Mary Immaculate Eastern Province and U.S. Province of
the Missionary of Oblates of Mary Immaculate, Inc. individually and collectively as the Oblates. I will refer
to Oblates of Mary Immaculate, Inc. as “OMI, Inc.”

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                                     FACTUAL BACKGROUND

         The following facts derive from the Defendants’ Statement of Material Fact (ECF

No. 74-1), Plaintiff’s Response to Defendants’ Statement of Material Fact (ECF No. 77),

and Defendants’ Reply to Plaintiff’s Response (ECF No. 80), as well as the parties’ briefs

and other evidence that the parties reference in their statements of material facts to

incorporate immaterial relevant information. See D. Me. Local R. 56.

                                          A. The Missionary

         The Oblates is a Roman Catholic religious missionary order that began its work in

the United States in 1842.3 The Eastern Province came into being in 1953 after a

“realignment of the American provinces was made by the General Administration.” ECF

No. 77-3 at 4. The Eastern Province had seminaries in Newburgh and Essex, New York,

Tewksbury, Massachusetts, and Washington, D.C. ECF No. 77, ¶ 27a. Oblates priests from

the Eastern Province also served in Georgia, Massachusetts, New York, Pennsylvania,

Michigan, and Washington, D.C. ECF No. 77, ¶ 27b. The Eastern and Northern Provinces

were separate entities with separate administrative structures and authority. ECF No. 77,

¶ 27e. The Eastern Province did not own any of the retreat homes in Augusta, Bar Harbor,

and Bucksport, Maine, where the Plaintiff’s alleged sexual abuse occurred. ECF No. 77,

¶ 27d.

         Relevant to the Plaintiff’s claims are Reverends Arthur P. Craig (Rev. Craig) and

Francis L. Demers (Rev. Demers), both of whom were involved with the Oblates during



3 See ECF No. 77-3. Beginning in the 1950s, the Missionary Oblates consisted of various divisions that

spread across the United States. ECF No. 74 at 2. The Eastern Province included Maine and
Massachusetts and spanned across the nation to Michigan. ECF No. 78 at 2. The St. Jean Baptiste
Province of Lowell became known as the Northern Province and it was established within the boundaries
of the Eastern Province in 1991 Id. Since 1999, each of the various divisions are now combined into one
national entity that covers the entire United States—OMI, Inc. Id.

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the period in which Doe was in the custody of the orphanage, see ECF No. 74-6 at 10; ECF

No. 77-11, but neither of which were assigned to the Northern or Eastern Provinces during

said time period. Specifically, Doe claims that she now recalls Rev. Craig and Rev. Demers

contributed to the alleged instances of sexual abuse that Doe experienced from the

Oblates priests. ECF No. 39 at 4–6.

       Rev. Craig attended the Eastern Province seminary in Washington, D.C. between

1951–1955, and he was ordained as a member of the Eastern Province in June, 1955. ECF

No. 77, ¶¶ 17–18. In 1959, Rev. Craig was assigned to the serve as an assistant pastor at

Immaculate Conception Church located in Lowell, Massachusetts. ECF No. 77, ¶ 20. Rev.

Demers, who is now deceased, was a priest of the Northern Province—however, Doe did

not name the Northern Province as a defendant in the complaint due to its subsumption

into OMI, Inc. ECF No. 77, ¶¶ 34–35.

       The Eastern province maintained personnel files for its members consisting of

formation reports, approvals for vows and ordination, assignment history, assignment

obediences, correspondence, and incident reports. ECF No. 77, ¶ 28. Rev. Craig did not

have any such reports of misconduct of any kind, including sexual abuse, in his personnel

file. ECF No. 77, ¶ 29-30. There also is no evidence suggesting that Rev. Demers had any

such report in his personnel file.

       Members of the Eastern and Northern Provinces were combined into a single

entity after the formation and incorporation of the U.S. Province in 1998–1999. ECF No.

77, ¶ 31.

                                       B. Jane Doe

       Doe was placed in the custody of St. Joseph’s Orphanage in Fall River,

Massachusetts, in 1955 at the age of four years old. ECF No. 74-1, ¶ 2. She remained in

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custody of the orphanage for four years. Id. A French Canadian Roman Catholic

Institution known as the “Grey Nuns” oversaw the orphanage. ECF No. 74-1, ¶ 3. For the

purpose of analyzing Defendants’ Motion for Summary Judgment, the Court assumes that

the Grey Nuns interacted with Oblates priests at services, ceremonies, and retreats on

multiple occasions, see ECF No. 77-6; however, the Oblates did not own, operate, or staff

St. Joseph’s Orphanage, ECF No. 74-1, ¶ 16.

       Doe alleges that during her time at the orphanage, she would travel with the Grey

Nuns and the Oblates across the region to sing and dance due to Doe’s talents at such

activities. ECF No. 74-1, ¶ 10. In furtherance of her allegations, Doe explains that the Grey

Nuns and Oblates priests would transport Doe and other orphans, under the guise of

scheduled religious performances, to the retreat homes in Augusta, Bucksport, and Bar

Harbor, Maine, where the priests would perform sexual acts on the children. ECF No. 39.

Doe claims an Oblates priest identified as Father Krzynski and varying Grey Nuns drove

Doe and the other orphans to these offsite retreat homes in cars owned by the Oblates.

ECF No. 74-3 at 76–77. Doe claims to have experienced this sexual abuse by the priests

on at least ten separate occasions. See ECF No. 74-3 at 106.

       While Doe always has been aware of the alleged abuse she encountered as a child,

Doe actively repressed her memory of the specific acts of abuse throughout her adult life.

See ECF No. 74-3 at, 11, 15, 148. However, “a 1994 episode of 60 Minutes triggered the

experience to the foreground of her consciousness.” ECF No. 78 at 5; ECF No. 74-3 at 11-

12; ECF No. 74-1, ¶ 7. Following her recollection of the abuse, Doe wrote to Survivors

Anonymous and was connected with another individual, Jane Doe DW,4 who mentioned



4 Jane Doe DW is a pseudonym. Supra note 1.


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also being told about singing and dancing before being sexually abused by Oblates priests.

ECF No. 74-1, ¶ 8-9; ECF No. 74-3 at 11–12, 15–16. After speaking with Doe DW, Doe did

not seek to gain more information at that time as the “reopened wounds [were] too

overwhelming.” ECF No. 78 at 6; ECF No. 74-3 at 14–16. Furthermore, “like many victims

of childhood sexual abuse,” Doe disassociated from her memories of abuse due to feelings

of shame and guilt. ECF No. 39, ¶ 30.

        In 2020, Doe DW contacted Doe to testify on Doe DW’s behalf. ECF No. 74-1, ¶ 11.

Doe’s own abuse by the priests then resurfaced. Id. ¶ 12; ECF No. 74-3 at 102–03. In 2022,

Doe DW’s attorney presented Doe with numerous photographs of “potential assailants

that [Doe] ‘recognized immediately.’” ECF No. 78 at 6; ECF No. 74-1, ¶ 13; ECF No. 74-3

at 102, ¶¶ 12–20. Doe now seeks recourse against the individuals and institutions that

contributed to her sexual abuse while she was in the orphanage’s custody. ECF No. 39,

¶ 31.

                                        DISCUSSION

        Summary judgment is appropriate when viewing all factual disputes in the light

most favorable to the nonmoving party, no genuine issue of material fact exists that would

prevent judgment for the moving party as a matter of law. Fed. R. Civ. P. 56(a); Montfort-

Rodriguez v. Rey-Hernandez, 504 F.3d 221, 224 (1st Cir. 2007). On a summary judgment

motion, “[a] genuine dispute exists where ‘a reasonable jury could resolve the dispute in

favor of the nonmoving party.’” Meuser v. Fed. Express Corp., 564 F.3d 507, 515 (1st Cir.

2009) (quoting Suarez v. Pueblo Int’l, Inc., 229 F.3d 49, 53 (1st Cir. 2000)). Furthermore,

“material” means a contested fact has the potential to change the outcome of the suit

under the governing law. Navarro v. Pfizer Corp., 261 F.3d 90, 93–94 (1st Cir. 2001). At

summary judgment,

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       there is “no room for credibility determinations, no room for the measured
       weighing of conflicting evidence such as the trial process entails, no room
       for the judge to superimpose [her] own ideas of probability and likelihood
       (no matter how reasonable those ideas may be) upon the carapace of the
       cold record.”
Bonner v. Triple-S Mgmt. Corp., 68 F.4th 677, 689 (1st Cir. 2023) (quoting Greenburg v.

Puerto Rico Mar. Shipping Auth., 835 F.2d 932, 936 (1st Cir. 1987)). The party opposing

summary judgment “bears ‘the burden of producing specific facts sufficient to deflect the

swing of the summary judgment scythe.’” Baum-Holland v. Hilton El Con Mgmt., LLC,

964 F.3d 77, 87 (1st Cir. 2020) (quoting Theidon v. Harvard Univ., 948 F.3d 477, 494

(1st Cir. 2020)). Because I am exercising diversity jurisdiction, I apply substantive Maine

law to determine Doe’s claims. See Theriault v. Genesis HealthCare LLC, 890 F.3d 342,

349 (1st Cir. 2018).

                           A. Negligent Supervision

       Doe claims the Oblates are liable for negligent supervision of the priests that

allegedly took her to the retreat homes to sexually abuse her. ECF No. 39 at 15; ECF No.

78 at 18. Defendants contest the application of negligent supervision as an independent

tort under Maine law, arguing the Law Court has not recognized such claims, and even if

it had, no evidence of a special relationship between Doe and the Oblates exists, which is

a requirement for negligent supervision claims to proceed. ECF No. 74 at 4.

       Defendants further state the Eastern Province is the only Defendant that could be

considered to have a special relationship with Doe with respect to Rev. Craig as he was

the only priest assigned to the Eastern Province during Doe’s tenure at the Orphanage.

Id. at 5. However, Defendants argue the negligent supervision claim still falls short

because the Eastern Province did not know nor had reason to know that Revs. Craig or

Demers allegedly had a propensity for sexually abusing children. Id. at 6.

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       Maine’s Law Court recognized the concept of negligent supervision in Fortin v.

Roman Catholic Bishop of Portland. 2005 ME 57, ¶ 39, 871 A.2d 1208, 1222 (holding the

relationship between Fortin and the Diocese was fiduciary in nature and sufficient to give

rise to the special relationship the law requires for negligent supervision claims). “[I]f a

plaintiff asserts the existence of facts that, if proven, establish a special relationship with

a defendant in accordance with section 315(b) of the Restatement (Second) of Torts, an

action may be maintained against the defendant for negligent supervision liability in

accordance with section 317 of the Restatement.” Dragomir v. Spring Harbor Hosp.,

2009 ME 51, ¶ 16, 970 A.2d 310, 315 (quoting Fortin, 2005 ME 57, ¶ 39, 871 A.2d at 1222).

Section 315(b) of the Restatement “provides that there is a duty to control the conduct of

a third person to prevent [the person] from causing harm to another if ‘a special relation

exists between the actor and the other which gives to the other a right to protection.’” Id.

(quoting Restatement (Second) of Torts § 315(b) (1965)). Section 317 of the Restatement

(Second) of Torts provides:

       A master is under a duty to exercise reasonable care so to control his servant
       while acting outside the scope of his employment as to prevent him from
       intentionally harming others or from so conducting himself as to create an
       unreasonable risk of bodily harm to them, if

       (a) the servant (i) is upon the premises in possession of the master or upon
       which the servant is privileged to enter only as his servant, or (ii) is using a
       chattel of the master, and

       (b) the master (i) knows or has reason to know that he has the ability to
       control his servant, and (ii) knows or should know of the necessity and
       opportunity for exercising such control.

Restatement (Second) of Torts § 317 (1965). Traditionally, there are four kinds of special

relationships relevant to negligent supervision claims: (1) common carriers and their

passengers; (2) innkeepers and their guests; (3) possessors of land and members of the


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public who are their invitees; and (4) those who are required by law to take physical

custody of another or who voluntarily do so, “such as to deprive the other of his normal

opportunities for protection.” Restatement (Second) of Torts § 314A. In Fortin, the

plaintiff, who alleged his childhood priest had sexually abused him, filed suit against the

Diocese for negligent supervision. Fortin, 2005 ME 57, ¶ 39, 871 A.2d at 1219. There, the

Law Court expanded the scope of special relationships to include “those fiduciary

relationships in which there exists a ‘great disparity of position and influence between the

parties’ [that] would qualify as a ‘special relation’ pursuant to section 315(b).” Dragomir,

2009 ME 51, ¶ 16, 970 A.2d at 315 (quoting Fortin, 2005 ME 57, ¶ 34, 871 A.2d at 1222).

       The Law Court explained Fortin’s abuse began when he “was a parochial school

student and altar boy” under the daily “supervision, control, and authority of the Diocese.”

Fortin, 2005 ME 57, ¶¶ 31, 34, 871 A.2d at 1219–20. The Fortin court followed the Second

Circuit’s analysis in Martinelli v. Bridgeport Roman Catholic Diocesan Corp., 196 F.3d

409, 430 (2d Cir. 1999), where the Second Circuit held that because the Martinelli

plaintiff was “a student at the diocesan school that employed the priest who committed

the abuse,” and “the Diocese knew the plaintiff had a ‘special and privileged relationship’

with the priest as a result of [the plaintiff’s] membership in a small group of boys

mentored by the priest,” a special relationship existed. Fortin, 2005 ME 57, ¶ 33, 871 A.2d

at 1220 (quoting Martinelli, 196 F.3d at 429). The Fortin Court found plaintiff’s claims

similarly established a special relationship between him and the Diocese as his fiduciary,

and were sufficient to survive a motion to dismiss. Id. ¶ 34.

       The Law Court recognizes custodial relationships as another type of special

relationship that give rise to a duty for the purpose of negligent supervision claims. In

Gniadek v. Camp Sunshine at Sebago Lake, Inc., the Law Court declined to classify the

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relationship between a plaintiff and his former camp counselor as custodial when the

plaintiff was assaulted by the camp counselor after the end of the plaintiff’s stay at the

summer camp. 2011 ME 11, 11 A.3d 308. Recognizing that custodial relationships exist

between “those who are required by law to take physical custody of another or who

voluntarily do so, ‘such as to deprive the other of his normal opportunities for protection,’”

the Law Court found that, because the plaintiff was not deprived of her mother’s

protection while at the camp and the relevant parties left the camp two months before the

assault occurred, no special relationship existed between the plaintiff and the camp.

Gniadek, 2011 ME 11, ¶ 24, 11 A.3d at 315 (quoting Dragomir, 2009 ME 51, ¶ 19, 970 A.2d

at 316).

       The Law Court refrained from holding the relationship between Gniadek and the

camp was fiduciary, because, as opposed to Fortin, the plaintiff in Gniadek only spent one

week each year at the summer camp and did not maintain a relationship with the camp

that differed from that of other campers. Id. ¶ 22. Moreover, the Law Court reasoned that

the summer camp “did not exercise influence over [Gniadek] as the Diocese did in Fortin,”

and concluded that the camp’s limited presence in the plaintiff’s life “was not marked by

‘a great disparity of power and influence between the parties.’” Id. ¶ 23 (quoting

Dragomir, 2009 ME 51, ¶ 19, 970 A.2d at 316).

       The inquiry into negligent supervision does not stop with a finding of a special

relationship, however. The Fortin court explained the plaintiff’s allegations established a

special relationship between the then-child plaintiff and the Diocese as his fiduciary. Such

a relationship then gave rise to the Diocese’s duty to protect the child only if, “the Diocese

knew or should have known of the risk of harm posed by the priest who abused Fortin.”

Fortin, 2005 ME 57, ¶ 38, 871 A.2d at 1222 (clarifying “[t]he duty does not exist simply

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because of Fortin’s status as a student and alter boy, but because of the added assertion

that the Diocese knew or should have known of the risk of harm posed by the priest who

abused Fortin”). The Dragomir Court further emphasized the “foreseeability”

requirement for proof of a negligent supervision claim. Dragomir, 2009 ME at ¶ 23, 970

A.2d at 317 (explaining that a claim for negligent supervision “necessarily requires [the

defendant] to have foreseen the need to control its employee”).

      In the instant case, Doe alleges that while in the custody of St. Joseph’s Orphanage,

Grey Nuns and an Oblates priest transported her to the retreat homes where Doe was

sexually abused. Both parties stipulate the Oblates did not own, operate, or staff the

orphanage, thus Doe could not have been under the daily supervision, control, or

authority of the Oblates for the purpose of establishing a fiduciary relationship between

the two. See Fortin, 2005 ME 57, ¶ 34, 871 A.2d at 1220. Nor could Doe be conceived to

have a custodial relationship with the Oblates during her time at St. Joseph’s as the Grey

Nuns were Doe’s sole caretakers and nothing in the record demonstrates the Oblates

priests deprived her of the protection of Grey Nuns.

      However, Doe alleges the Oblates were possessors of the retreat homes where Doe

alleges her sexual abuse occurred, and Doe was invited to perform at these retreat homes

by the Oblates. Analyzed under the summary judgment standard, these allegations allow

the Court to conclude a special relationship between Doe and the Oblates exists

classifiable as a possessor of land and their invitees pursuant to Restatement (Second) of

Torts § 314A(3).

      Nonetheless, Defendants’ alternative argument that the Oblates did not know nor

had reason to know of Revs. Craig or Demers’ propensity for sexual abuse ultimately

defeats Doe’s claim. In contesting Defendants’ argument on this point, Doe cites to

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evidence demonstrating that a Reverend Real (Ray) Borque admitted to sexually abusing

boys while working as director of St. Paul’s Retreat House and Cursillo Center in Augusta,

Maine in the 1970s. ECF No. 78 at 15. Even if the Court assumes, without concluding, that

this piece of evidence could be admissible for some relevant limited purpose, no genuine

issue of material fact exists that could demonstrate the Eastern Province was aware of any

priests’ propensity to sexually abuse children in the 1950s.5 As a result, summary

judgment for the negligent supervision claim is granted in favor of Defendants.

                                        B. Premises Liability

        Defendants argue they also cannot be liable for Doe’s sexual abuse under a theory

of premises liability, because the retreat homes were owned by the civil corporation, OMI,

Inc., and, as a civil corporation, OMI, Inc. did not exercise control of the Oblates who

dwelled in the retreat homes. ECF No. 74 at 6-7. Doe maintains that, while OMI, Inc. was

the owner of the retreat homes, the homes were utilized by priests of the Northern and

Eastern Provinces that were subsumed by the incorporation of OMI. ECF No. 78 at 8–9.

Similar to the previous argument, Doe also alleges the Oblates were aware of the sexual

abuse occurring at the retreat homes due to previous reports made by the other minors

alleging the Oblates priests sexually abused them. Id. As stated above, the evidence Doe

presents on this claim relevant to Eastern Province contains reports made in the 1970s,

nearly 15 years after Doe’s time at the orphanage. See ECF No. 80, ¶ 4a.

        Maine law imposes a duty on the owners of premises to protect its business invitees

from reasonably foreseeable dangers. Stanton v. Univ. of Maine Sys., 2001 ME 96, 773


5 Doe cites to allegations of sexual abuse regarding Oblates priests Marcel Genereux and Eugene Turcotte.

ECF No. 78 at 11. However, the evidence Doe cites demonstrates these allegations occurred outside the
timeframe of Doe’s tenure at St. Joseph’s and/or outside the geographic territory of Maine or the Eastern
Province. Id.; ECF No. 78 at 4. As such, these alleged facts are not sufficient to establish the foreseeability
requirement necessary to succeed on a claim for negligent supervision.

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A.2d 1045, 1049. Although the inquiry as to the existence of a duty is fact-intensive,

whether a plaintiff is owed a duty of care is a matter of law. Brown v. Delta Tau Delta,

2015 ME 75, ¶ 9, 118 A.3d 789, 791. The court analyzes the facts pertaining to

“foreseeability, control, and the relationship of the parties” to determine whether a duty

founded on premises liability exists. Id. ¶ 14. In Brown v. Delta Tau Delta, the Law Court

determined that a national organization exercised control and had a close relationship

with its local chapter sufficient to establish premises liability where the national

organization “provided [the local chapter’s] name, credibility, corporate structure, and

code of conduct. Id. ¶ 27. The Brown court also explained the potential for misconduct,

including sexual assault, was foreseeable when the fraternity allowed “a group of

eighteen-to-twenty-year-olds control over a residence where alcohol-related parties are

held.” Id. ¶ 15 (“A national fraternity knows, or should know, that social events carried on

in a building that houses one of its local chapters presents the potential for sexual assault,

particularly where alcohol consumption is an integral part of the event.”).

       In the present case, the record reveals that, as the successor entity of the Northern

Province, OMI, Inc. was the owner of the home at 136 State Street in Augusta. Despite the

fact that OMI, Inc. owned the home upon its incorporation, the Northern Province was

the only entity to exercise control of the retreat home at the time of Doe’s tenure at the

orphanage and her alleged trips to the retreat home. See ECF Nos. 77-2, 77-3.

       Regarding foreseeability, Doe’s position is that all of the defendants were aware of

sexual abuse occurring at the retreat homes due to the collection of reports she submits

as evidence, see ECF No. 77-5, ¶ 4, and the risk of sexual assault at a boarding house for

powerful men was foreseeable. ECF No. 78 at 11. Defendants reject this position, arguing



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Doe’s evidence that the alleged sexual abuse was foreseeable is insufficient to prove Doe’s

claim. ECF No. 74 at 7.

        Doe presents no evidence that the Oblates or OMI, Inc. was aware of any of the

priests’ propensity for sexually abusing children at or around the time of Doe’s tenure at

the orphanage, and, unlike the foreseeability for misconduct at a fraternity house, the

Cour does not find a corresponding general foreseeability regarding the Oblates and

minor children. As such, Doe cannot survive summary judgment on a theory of premise

liability.

                                   C. Vicarious Liability

        Similar to the previous arguments, Defendants argue Maine does not recognize the

application of vicarious liability in sexual assault claims because such conduct is outside

the scope of employment. ECF No. 74 at 7. In response, Doe cites to McLain v. Training

and Development Corp., 572 A.2d 494 (Me. 1990), arguing that vicarious liability is

applicable in cases where the servant purports to act on behalf of the principal and there

is reliance upon apparent authority or the servant is aided in accomplishing the tort by

the existence of the agency relationship. ECF No. 78 at 12.

        Similarly, Doe distinguishes the instant case from Mahar v. StoneWood Transport

where the Law Court, affirming the trial court’s grant of summary judgment, held the

defendant-employer was not liable for its employee’s intentional tort when the employee

left the company vehicle to assault motorists in a road rage incident. 2003 ME 63, 823

A.2d 540; ECF No. 78 at 12–13. Doe rests her argument on her claimed fact that here, as

opposed to the critical finding in Mahar to the contrary, the existence of the priests’

relationship with the Oblates did aid the employee’s tortious conduct. ECF No. 78 at 12–

13. Defendants properly contest Doe’s interpretation of Mahar, arguing the claim failed

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because the employer lacked prior knowledge of its employee’s propensity for violence.

ECF No. 74 at 8; Mahar, 2003 ME 63, ¶ 15, 823 A.2d at 545 (holding vicarious liability

claims against employers for intentional torts require the agent’s tortious act to be

foreseeable).

       As explained in the two previous sections, Doe presents no evidence demonstrating

that Defendants were aware, or should have been aware, of any of their employees’ alleged

propensity for child sex abuse at or around Doe’s tenure at the orphanage. In conclusion,

Doe’s vicarious liability claim is also cut by the scythe of summary judgment. Baum-

Holland, 964 F.3d at 87.

                   D. Intentional Infliction of Emotional Distress

       Defendants contest Doe’s intentional infliction of emotional distress claim with the

same arguments against the Oblates’ awareness of the sexual abuse occurring at the

retreat homes. ECF No. 74 at 8-9. For the same reasons I state above, Doe presents no

material evidence to dispel Defendants’ arguments, and summary judgment is granted on

the intentional infliction of emotional distress claim.

                                      CONCLUSION

       For the reasons stated above, I grant Defendants’ Motion for Summary Judgment

in its entirety.



       SO ORDERED.

       Dated this 7th day of January, 2025


                                                   /s/ Stacey D Neumann
                                                   U.S. DISTRICT JUDGE



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